Case 2:05-cr-20073-.]PI\/| Document 34 Filed 06/01/05 Page 1 of 2 Page|D 41

IN THE UNITED sTATEs DISTRICT coURT F“'ED ""OQ'H~ D\C-
FoR THE wEsTERN DISTRICT oF TENNESSEE
wEsTERN DIVISION 95 JUH "i PH 111 U|

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W.D. CF TN‘ §WEMF}H[S \
UNITED STATES OF AMERICA,

Plaintiff,
vs. CR. NO. 05~20073-Ma
ARIANE GRANT,

TIFFANY MAXWELL ,
YULANDA JONE S ,

Defendants.

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on April 2l, 2005.
Defense counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case.

The Court granted the request and continued the trial to the
rotation docket beginning July 5, 2005 at 9:30 a.m., with a report
date of Friday, June 24, 2005 at 2:00 p.m.

The period from April 21, 2005 through July 15, 2005 is
excludable under 18 U.S.C. § 3lGl(h)(8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

3|:
IT IS SO ORDERED this day of May, 2005.

yW/M__

SAMUEL H. MAYS, JR-.
UNITED STATES DISTRICT JUDGE

 

Thls document entered nn the docket sheet in compiiance

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Honorable Samuel Mays
US DISTRICT COURT

